Case 2:15-cv-03025-MCA-LDW Document 12 Filed 02/29/16 Page 1 of 1 PageID: 177




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 LISA VAN BUSKIRK,

        Plaintiff,                                             Civil Action No. 15-3025

                v.                                                   JUDGMENT

 PREMIUM RECOVERY GROUP, INC., et
 al.,

        Defendants.


ARLEO, UNITED STATES DISTRICT JUDGE

       This matter comes before the Court on Plaintiff Lisa Van Buskirk’s (“Plaintiff”) motion

for final judgment by default against Defendant Joey Younger pursuant to Federal Rule of Civil

Procedure 55(b);

       and for the reasons set forth in the accompanying opinion and order;

       IT IS on this 29th day of February, 2016,

       ORDERED that judgment shall be entered against Defendant Younger for (1) $1,000.00

in statutory damages; (2) $7,267.50 in attorney’s fees; and (3) $590.00 in costs.

                                                             /s Madeline Cox Arleo___________
                                                             MADELINE COX ARLEO
                                                             United States District Judge
